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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            CRIMINAL No. 6:04cr74-11
                                                  §
 ROSS MCMORRIS III                                §

                           REPORT AND RECOMMENDATION OF
                           UNITED STATES MAGISTRATE JUDGE

        On December 16, 2008, the Court conducted a hearing to consider the United States’ petition

 to revoke the supervised release of Defendant Ross McMorris III. The United States was represented

 by Allen Hurst, Assistant United States Attorney for the Eastern District of Texas, and Defendant

 was represented by Ken Hawk, Assistance Federal Public Defender.

        Defendant originally pleaded guilty to the offense of Possession with Intent to Distribute and

 Distribution of Cocaine Base, a Class C felony. The offense carried a statutory maximum

 imprisonment term of twenty (20) years. The United States Sentencing Guideline range for this

 violation based on a total offense level of fifteen (15) and a criminal history category of I, was

 eighteen (18) to twenty-four (24) months. On April 19, 2005 U.S. District Judge Michael H.

 Schneider sentenced Defendant to twenty (20) months imprisonment, followed by three (3) years of

 supervised release, subject to the standard conditions of release, plus special conditions including

 financial disclosure and drug aftercare.

        On April 14, 2006 Defendant completed his term of imprisonment and began the three year

 term of supervised release. Under the terms of supervised release, Defendant was prohibited, in

 relevant part, from 1) committing another federal, state, or local crime and 2) unlawfully possessing

 or using a controlled substance. In its petition, the government alleges that Defendant violated these
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 conditions. On July 21, 2007 Defendant submitted a urine specimen pursuant to his mandatory drug

 testing which tested positive for marijuana. Additionally, on October 8, 2008 while still under

 supervised release, Defendant was convicted in the Third Judicial District Court of Anderson

 County, Texas, of the offense of Possession of a Controlled Substance with Intent to Deliver—more

 than four (4) grams but less than two hundred (200) grams of cocaine. Defendant was also found

 guilty of the offense os Possession of Marijuana—four (4) ounces to five (5) pounds.

        If the Court finds by a preponderance of the evidence that Defendant committed this

 violation, a statutory sentence of no more than two years of imprisonment may be imposed.

 18 U.S.C. § 3583(e)(3); 18 U.S.C. § 3583(g)(1). Section 7B1.1(a) of the Sentencing Guidelines

 indicates that if the Court finds by a preponderance of the evidence that Defendant violated

 conditions of supervision by committing the offense of Possession of a Controlled Substance with

 Intent to Deliver—more than four (4) grams but less than two hundred (200) grams of

 cocaine—Defendant will be guilty of committing a Grade A violation, for which the Court shall

 revoke Defendant’s term of supervised release in favor of a term of imprisonment.

 U.S.S.G. § 7B1.3(a)(1). Considering Defendant’s criminal history category of I, the Guideline

 imprisonment range for a Grade A violation is twelve (12) to eighteen (18) months. U.S.S.G.

 § 7B1.4(a).

        Section 7B1.1(a) of the Sentencing Guidelines indicates that if the Court finds by a

 preponderance of the evidence that Defendant violated conditions of supervision by using marijuana

 on or about July 21, 2007, Defendant will by guilty of committing a Grade C violation, for which

 the Court may either revoke supervised release or extend the term of supervised release and/or

 modify the conditions of supervision. U.S.S.G. § 7B1.3(a)(2). Considering Defendant’s criminal


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 history category of I, the Guideline imprisonment range for a Grade C violation is three (3) to

 nine (9) months. U.S.S.G. § 7B1.4(a).

        At the hearing, the parties indicated they had come to an agreement to resolve the petition

 whereby Defendant would plead true to the second violation. Further, the parties agreed that

 Defendant should be sentenced to nine (9) months.

        Pursuant to the Sentencing Reform Act of 1984 and the agreement of the parties, the Court

 RECOMMENDS that Defendant Ross McMorris III be committed to the custody of the Bureau of

 Prisons for a term of imprisonment of nine months with no supervised release to follow. The Court

 further RECOMMENDS that Defendant be imprisoned at the Seagoville facility. The parties have

 waived their right to object to the findings of the Magistrate Judge in this matter so the Court will
           .
 present this Report and Recommendation to District Judge Michael H. Schneider for adoption

 immediately upon issuance.




          So ORDERED and SIGNED this 17th day of December, 2008.




                                         ___________________________________
                                                    JOHN D. LOVE
                                         UNITED STATES MAGISTRATE JUDGE




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